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 AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Southern District of Georgia

                   United States of America                           )
                              v.                                      )
                                                                      ) Case No: CR604-000 10-008
                  Steve Lewis, aka "Jaleel"                           ) USMNo: 11989-021
Date of Previous Judgment: March 2,2005                               ) Jason A. Craig
(Use Date of Last Amended Judgment if Applicable)                     ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of        jthe defendant Elthe Director of the Bureau of Prisons Ethe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENiED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    thelast judgment issued) of _________________ months is reduced to __________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                    29                            Amended Offense Level:     27
Criminal History Category:                 II                            Criminal History Category: II
Previous Guideline Range:               97   to 121 months               Amended Guideline Range: 78 to 97 months
H. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to th'e.)Jefendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably lesian the.
   amended guideline range.                                                                                         -
LI Othei (explain)

                                                                                                                   :N
III. ADDITIONAL COMMENTS: The Court has denied the motion for reduction of sentence                      onctots   4d
identified in 18 U.S.C. § 3553(a), namely the history and characteristics of the defendant and the ed to       tect th
public from further crimes of the defendant. At the time of the instant offense, the defendant already had three prior
felony cocaine-related convictions. The imposed sentence of 108 months more adequately addresses that fact and the
associated public safety concern than any reduced sentence could.

Except as provided above, all provisions of the judgment dated March 2, 2005,                           shall remain in effect.
IT IS SO ORDERED.

Order Date:         March 13, 2008


                                                                          B. Avant Edenfield
                                                                          United States District Judge
Effective Date:                                                           For the Southern District of Georgia
                      ifdirent from order date)                                                Printed name and title
